                 Case 22-11068-JTD            Doc 1391       Filed 04/28/23       Page 1 of 2




                 IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE
                                      :
                                      :
                                      :
    In re                             : Chapter 11
                                      :
                              1
    FTX TRADING LTD., et al.,         : Case No. 22-11068 (JTD)
                                      : (Jointly Administered)
                                      :
                            Debtors.    Re: D.I. 746, 805, 809, 1122




                   NOTICE OF FILING OF ATTACHMENT
    TO DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

          Appellant Andrew R. Vara, the United States Trustee for Region 3 (the “U.S. Trustee”),

pursuant to Fed. R. Bankr. P. 8009(a)(1), hereby files an attachment to his Designation of Items

To Be Included in the Record on Appeal [D.I. 1122] (the “UST Designation”), with respect to

this Court’s February 21, 2023 Order Denying Motion for the Appointment of an Examiner [D.I.

746].

          As explained in the UST Designation, a copy of Joint Exhibit 17 (Debtors’ Responses

and Objections to the United States Trustee’s First Set of Interrogatories to Debtors) was

omitted as an attachment to the UST Designation because the Debtors might have viewed it as

containing sensitive information. The U.S. Trustee has received no substantive response or

other objection from Debtors’ counsel regarding the filing of Joint Exhibit 17. Attached please

find a copy of Joint Exhibit 17.


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      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
      are 3288 and 4063, respectively. Due to the large number of debtor entities in these chapter 11 cases,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.ra.kroll.com/FTX.
           Case 22-11068-JTD   Doc 1391   Filed 04/28/23   Page 2 of 2




Dated: April 28, 2023                 Respectfully submitted,
       Wilmington, Delaware
                                      ANDREW R. VARA
                                      UNITED STATES TRUSTEE,
                                      REGIONS 3 and 9

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